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AO 106 (Rev. 04/10) Appl1cat1o11 for a Search Warrant n /A/

 

  

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for the 3},‘0. /[/IA}? A/V 7 § [/H/`//?/O/`
District of Utah ' _ /( ZWF
71'
In the l\/latter of the Search of ' » y
(Brie/ly describe the property to be searched § ' 2 /Ym 2 2 B}%/(
or identify the person by name and address) ) Case NO_ 2,:_.1_7_6[~_:7.2.8_|§.5§
A black and blue Swiss Gear backpack and the contents )
therein, and a white |Phone, model A1549, l|\/|EI §

352021076935758_ (see Attachment A)
APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the govermnent, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property ndennjj/ the person or describe the
property to be searched and give its location).'

See ATTACH|VIENT A and affidavit incorporated herein by this reference

located in the District of Utah , there is now concealed (identw the

person or describe the property to be seized)i
See ATTACH|VIENT B and affidavit incorporated herein by this reference

 

The basis for the search under Fed R. Crim. P. 4l(c) ls (check one or more):
t!{evidence of a crime;
|!{ contraband, fruits of crime, or other items illegally possessed;
U(property designed for use, intended for use, or used in committing a crime;
E,'J a person to be arrested or a person who is unlawfully restrained »

The search is related to a Violation of:

Code Section ~ Ojj%nse Description
18 U.S.C. §2113(a) Bank Robbery

The application is based on these facts:
See attached affidavit in support of the search warrant application, incorporated herein by reference

M/ Continued on the attached sheet.

El Delayed notice of days (give exact ending date if more than 30 days: )is requested
under 18 U.S.C. § 3 lO3a, the basis of which is set forth on the attached sheet.

//%/“

Applicant’ s signature

 

FB| Specia| Agent Jeremiah Fow|ke
Printed na/~ » `

 

Sworn to before me and Signed in my presence

 

Date: l l

 

 

/' / J dges/signature "» '. ` "

gi r te Judge Dustin Pead
` l wlnted name and title ` 17 ' l

 

 

City and state: Sa|t Lake City, Utah

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF UTAH

 

_ IN THE MATTER OF THE SEARCH OF:

Items seized from Wayne Harms incident to Case No. Z-el~V-eHQS-RJS

his arrest: Blacl< and blue Swiss Gear + ,. - ~ZZP¢§/>
bacl<pack and the contents therein, and a g /th .
white IPhone, model A1549, IMEI '
352021076935758.

 

 

 

AFFIDAVIT IN SUPPORT OF
APPLICATION FOR SEARCH WARRANT

I, Jeremiah Fowlke, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. l am an investigative or law enforcement officer of the United States within the
meaning of Seotion 2510(7) of Title 18, United States Code, and am empowered by law to l
conduct investigations of and to make arrests for offenses enumerated in Section 2516 of Title
18, United ‘States Code. l have been so employed by the FBI since December of 2010. In August
2016, l was assigned to the FBI Violent Crimes Task Force (VCTF) and I am tasl<ed with
investigating bank robbery, carj acl<ing, and other violent crimes. As a Special Agent with the
FBI, l have participated in several investigations involving carj acking in violation of Title 18,
United States Code,_Section 2119, in addition to other extensive criminal investigations I have
received numerous training related to the investigations of violentlcrimes and the collection of
. evidence related to violent crirnes.

. 2. The facts in this affidavit come from information obtained from your affiant, ’

other law enforcement officers, and witnesses Your affiant has read and become familiar with

the facts set forth in this affidavit This affidavit is intended to show merely that there is

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sufficient probable cause for the requested warrant and does not set forth all of my knowledge

about this matter. l

3. This affidavit is in support of a search warrant application for the following items
in connection with an investigation of Wayne Harms, for the Bank Robbery of the Washington

Federal Bank, in violation of 18 U.S.C. § 2113(a).

PROPERTY TO BE SEARCHED
4. This affidavit is made in support of an application'for a search warrant to search
and seize the following items that was seized from Wayne Harms incident to his arrest:
0 Black and blue Swiss Gear backpack and the contents therein

0 _White IPhone, model A1549, IMEI 35202107693575 8

PROBABLE CAUSE

1. (_)n November 27 , 2017, Unified Police Department (UPD) and the FBI responded
to a robbery complaint at the'Washington Federal Bank, located at 3983 S. Wasatch Boulevard,
Salt Lake City, Utah. A male suspect entered the bank and gave the teller a note demanding
money. The teller provided the suspect with money from her bank drawer. After receiving the
money, the male fled the bank and was not located. v

2. Your affiant responded to Washington Federal Bank to conduct an investigation
concerning the details of the robbery. Your affiant interviewed the victim employee, Brittni
Chase (CHASE). CHASE told your affiant that the male suspect entered the bank, approached
her teller station and gave her a piece ofpaper. CHASE picked up the paper and read it. The

piece of paper stated that, “this is a robbery do not scream, do not react. Open your drawer and

 

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give me unbundled $50 and $100 bills. Do it now and nobody will get hurt.” CHASE advised
that she gave the suspect all the cash from her drawer consisting of $20, $10, $5 and $l bills.

3. CHASE further advised that she also gave the suspect $100 worth of bait bills,
which consisted of five $20 bills. After she gave the suspect the money, he walked out of the
'bank, but CHASE did not see what direction the suspect went. ’l`he suspect left the demand note
at the teller station, later seized by UPD.

4. CHASE described the suspect as being a Caucasian male with tan skin,
approximately 5'7", with a normal build, and dark black hair, which was thinning on top. He was
wearing a darker K_haki colored coat and dark pants. She described the suspect as having a raspy
voice. The suspects did not attempt to cover or disguise his face.

5. Investigators also interviewed l\/lackenzie Neville (NEVILLE) who was working
at the bank and witnessed the robbery. NEVILLE advised that she was sitting at her desk near
the back of the business when she looked up and observed the suspect enter the bank. NEVlLLE
described the suspect'as a white male with a darker skin tone. She said the suspect had black
hair, which was balding and cut close. He had a muscular build and a goatee. The suspect was
wearing a green army style jacket with a gray hoodie sticking out, dark jeans, and boots.

6. NEVILLE told investigators that she looked up as the suspect entered and she told
him “hi.” The suspect mumbled a response she couldn't understand and then approached the
victim teller and put a note on the counter while saying something about a check. NEVILLE
noticed he kept his hands in his pockets as if he was holding a weapon under his coat. The
suspect remained at the counter for just about 30 seconds then left out the front door in an
unknown direction NEVILLE askcd CHASE if they had just been robbed. When she said yes,

NEVILLE pushed the alarm and locked the front door.

 

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7. Your affiant was provided and reviewed several still photos from Washington
Federal Bank surveillance These photographs were forwarded to the Unified Police Department
Media Services and were released to several local media outlets for distribution to the public
asking for assistance in identifying the suspect

8. On November 28, 2017, your affiant learned of a tip concerning the identity of the
suspected robber. According to the information provided by a known citizen, the citizen called
and advised that he had observed news footage of the bank robbery. The citizen believed the
suspect is a male he knows as Wayne Harms (HARMS). The citizen dealt with HARMS on
several occasions over the last week and had observed HARMS wearing the same clothing as the
suspect in the bank surveillance photos. The citizen provided a cell phone number HARMS had
used to contact him within a week prior to the bank robbery (916~963~0046). The citizen
provided that he had searched Facebook using HARMS’ phone number, observed several photos
from HARMS’ Facebook account, and is certain he is the robbery suspect

'9. On November 28, 2017, your affiant was able to locate a Nebraska and a
California driver’s license for a Wayne Alan Harms, born January 28, 1969. The photograph in
the Nebraska driver’s license bares a strong resemblance to the individual that robbed the
Washington Federal Bank on November 27, 2017 .

10. On November 28, 2017, your affiant conducted a follow up investigation with the
citizen. The citizen advised that he was watching the news and saw a story for a bank robbery
that had occurred earlier in the day. Upon seeing the photograph of the bank robbery suspect, the
citizen immediately recognized the suspect to be HARMS. The citizen had spent time with
.HARMS on several occasions due to HARl\/IS’ vehicle breaking down. The first time the citizen

met HARMS was on November 19, 2017, when the citizen received a call concerning a black

 

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1998 BMW 7401 belonging to HARMS. The citizen spent a significant amount of time
attempting to assist HARMS.

l 1. On Friday, November 24, 2017, HARMS contacted the citizen and informed him
that he was going to be arriving back in Utah and would need a ride back from the train station to
pick up his vehicle The citizen picked up HARMS at the Al\/ITRAK station and brought him
back to an auto repair shop. HARMS paid cash for the repairs After paying or the repairs,
HARMS took his vehicle and left. Approximately two hours later HARl\/IS called the auto repair
shop and said that his vehicle was still not running properly. An employee of shop met HARMS
and towed his vehicle back to shop. HARMS advised that he didn't have enough money for the
new repairs, but would work on it over the weekend He would also need assis-tance~in getting a
hotel room because he didn't have any identification with him. The citizen’s employer ask him to
assist HARl\/IS in getting a motel room. The citizen took HARMS to the Econo Lodge in Salt
Lake City, Utah. \

12. On Sunday November 26, 2017, HARMS sentthe citizen several text messages in
the middle of the night asking if he could pay for the repairs via PayPal, but eventually changed
his mind and advised he would just pay in cash on Monday morning Early Monday morning
HARMS sent several more text messages to the citizen stating he needed him to come pick him
up from the Econ Lodge and help him get his deposit back since he had rented the room in the
citizen’s name The citizen picked up HARl\/IS at the Econo Lodge and drove him to the shop to
pick up his vehicle HARMS still didn't have any money to pay for new repairs, but the shop just
gave him his vehicle back. HARMS took his vehicle and left. The citizen stated this was the last

he had heard from HARMS. The citizen provided a license plate number for the vehicle HARMS

 

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was driving He provided the California license plate listing 4NKV3 7 4. All communications
from HARMS to the citizen were via cell phone

13. On November 28, 2017, your affiant responded to the Econo Lodge in Salt Lake
City and was able to review surveillance footage Your affiant observed surveillance footage of
HARl\/IS during the time he was checking out of the motel. HARl\/I_S is seen wearing a coat,l
hoodie, and pants that were similar in color and fashion to the coat the suspect wore during the
Washington Federal Bank Robbery. After reviewing the video surveillance from Econo Lodge
and comparing that to the photos of the Washington Federal Bank robbery, it is the belief of all
the investigators involved that the robbery suspect is HARMS.

14. On November 28, 2017, the citizen informed your affiant that he had received a
text message from HARMS. The text came from the phone number 916~963~0046. The citizen
advised that the text\stated HARMS was on a train heading to California, but he had left his
vehicle on the side of the roadway at 3316 south Monte Verdc Drive in Salt Lake City. He
requested the citizen to tow the vehicle to the shop to replace the tires. HARMS informed the
citizen he would mail him the keys to the vehicle and be back to pick it up on Friday, `
Decemberl, 201-1 Your affiant conducted a search of 3316 South l\/lonte Verde Drive and found
3316 South Monte Verde Drive to be approximately 1.2 miles from the Washington lFederal
Bank. UPD Detectives responded to 3316 south Monte Verde Drive and located a black BMW 4
with California license plates attached to the front and back of the vehicle The plates on the
vehicle were 4NKV3 74. UPD Detectives requested an evidence tow truck respond to take
custody of the vehicle and tow it to the Unified Property and Evidence.

15. Unified Police Detective Jeremy Wilson authored a search warrant for the call

detail records belonging to the phone number 916-963-0046. After receiving and reviewing the

 

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returns, your affiant learned that the target telephone number hit off cellular telephone towers
that service the area of, or near, the location for the bank robbery on November 27, 2017.

16. On November 28, 2017 , UPD Detective Brent Adamson presented CHASE and
NEi/ILLE a photo line-up. The line-up contained a photo of HARl\/IS. Detective Adamson
informed your affiant that NEVILLE positively identified the photo of HARl\/IS as the suspect
who robbed the bank on`November 27, 2017. Detective Adamson further informed your affiant

that CHASE did not identify any of the photos as being the suspect who robbed the bank

17. On November 28, 2017 , Detective Adamson contacted AMTRAK Police and was
notified HARl\/IS had boarded an Amtrak train in Salt Lake City on November 27, 2017 and
departed around 2330 hours headed to Roseville California HARMS arrived in Roseville at
1315 hours on November 28, 2017. Investigator Kurup confirmed HARMS used a l\/lasterCard
ending in "6493" to purchase the ticket in his name HARl\/IS provided the address 9160
Madison Ave #72 F air Oaks Ca 95628 with a telephone number 916-963~0046.

18. On December 3, 2017, the same citizen informed your affiant that he had received
additional text messages from HARMS, but this time from a new telephone number. The new
number was v916-827-5670. Harms advised the citizen that he would be arriving in Utah on the
Amtrak train that arrived at 0330 hours on December 4, 2017.

_ 19. On December 3, 2017, your affiant contacted Amtrak police and learned that
HARMS purchased a train ticket under the name of Larry Downing. The ticket was for train #6
and it was scheduled to arrive in Salt Lake City on December 4, 2017 , shortly after 03 00 hours.

20. On December 4, 2017, your affiant and other law enforcement personnel made
contact the Amtrak personnel at the Salt Lake City station. Upon the arrival of train #6, your

affiant entered the train and located HARMS sleeping in his seat. HARMS was taken into

 

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custody without incident and his property was seized, to include, but not limited to a black and
blue Swiss Gear backpack, a white IPhone, model A1549, ll\/IEI 35202107693 575 8, and a green'
jacket with a grey hood.

21. Based on your affiants training and experience he has learned that criminals use
cellular telephones before, during, and after the commission of criminal activity to plan and
discuss said activity. All_ communications with the citizen were made via cellular phone and such
evidence would support the citizen’s statement concerning HARMS as the individual who
robbed the Washington Federal Bank. Based on these facts, your affiant believes that further
conversations or evidence of additional criminal activity is likely to be found on HARl\/IS’
cellular telephone

AUTHORIZATION REQUEST

22. Based on the foregoing, I submit there is probable cause to search and seize the

items referenced above in Paragraph 4 and below in Attachment A and for the items referenced

in Attachment B.

Respectfully submitted,

//“M///

tEREMi/A?ri FowLKE
4 Special Agent
Federal Bureau of Investigation

 

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Subscribed and sworn to before me on~Sep

_*/_é, 2018

    

 

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ATTACHMENT A - ITEMS TO BE SEARCHED
Items located on Wayne Harms at the time of his arrest by the FBI to include, but not
limited to a black and blue Swiss Gear backpack and the contents therein, and a white lPhone,
model A1549, IMEI 352021076935758. These items are currently in the custody of the FBI at

5425 W. Amelia Earhart Drive, Salt Lake City, Utah 84116.

 

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ATTACHMENT B - I'I`EMS TO BE SEIZED

Evidence of, or relating to, the commission of a Bank Robbery in violation of 18 U.S.C

2113(3):

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ltems that were in Wayne Harm’s possession at the time of his arrest to include
but not limited to a black and blue Swiss Gear backpack and the contents therein;

2.4 White lPhone model A1549, IMEI 352021076935758, to include but not limited

` to:
A. Any and all content or communication associated with the commission of
a bank robbery, which includes, but not limited to, emails, text messages,
photographs, and chat logs found on the device

B. Any and all GPS or locational data that will provide information related as
to the devices location during the bank robbery and its time in Utah.

C. Any and all information, notes, software documents, records, or
correspondence in any format and medium, pertaining to violations of 18
U.S.C. §§ 2113(a)

D. Any and all information,¢ notes, documents, records, or correspondence in
any format or medium, pertaining to bank robbery.

E. Any and all information, notes, documents, records, or correspondence in
any format or medium, concerning lnternet activity reflecting an interest
in bank robbery.

F. Any and all address b`ooks, names, and lists of names and addresses of
individuals who may have been contacted by use of the Device(s) or by
other means for the purpose of committing violations of 18 U.S.C.

§§ 2113(3).

G. Any and all information, notes, documents, records, or correspondence in
any format or medium, concerning membership in online groups, clubs, or
services that provide information related to committing violations of 18
U.S.C. §§ 2113(a). `

H. Any and all information, records, documents, invoices and materials, in
any format or medium, that concern any accounts with an lnternet Service
Provider pertaining to violations of 18 U.S.C. §§ 2113(a).

I. Any and all information, records, documents, invoices and materials, in
any format or medium, that concern e-mail accounts, online storage or
other remote computer storage pertaining to violations of 18 U.S.C.

§§ 21 13(a).

 

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J. Records of Internet activity, including Internet Protocol addressee firewall
logs, transactions with Internet' hosting providers, co-located computer
systems, cloud computing services, caches, browser history and cookies,
“bookmarked” or “favorite” web pages, search terms that the user entered
into any lnternet search engine and records of user- typed web addresses
pertaining to violations of 18 U. S C. §§ 2113(a), or that show who used
owned, possessed or controlled the Device(s)

K. Any and all information, documents, records, photos, videos, or
correspondence in any format or medium, pertaining to use or ownership
of the'Device(s), or that aid in the identification of persons involved in
violations of 18 U.S.C. §§ 2113(a).

L. Credit card information, bills, and payment records pertaining to
violations of 18 U.S.C. §§ 2113(a).

vl\t[. De_scriptions of time date locations, items, or events showing or tending
to show the commission of, or connecting or tending to connect a person
to violations of 18 U.S.C. §§ 2113(a).

N. Evidence of who used, owned, or controlled the Device(s) to commit or
facilitate the commission of the crimes described, or at the time the things
described in this warrant were created, edited, or deleted, including
photographs, videos, logs, call logs, phonebooks, address book-s, contacts,
lP addresses, registry entries, configuration files, saved usernames and
passwords, documents, calendars, browsing history, search terms,
metadata, user profiles, e-mail, e~mail contacts, messages (text or voice),
instant messaging logs, file structure and correspondence

O. Evidence of software that may allow others to control the Device(s), such
as viruses, 'Troj an horses, and other forms of malicious software as well
as evidence of the presence or absence of security provisions or software
designed to detect malicious software or unauthorized use of the device
and evidence of the lack of such malicious software

P. Evidence of the attachment to the Device(s) of other storage devices or
similar containers for electronic evidence

Q. Evidence of counter-forensic programs (and associated data) that are
designed to eliminate data from the Device(s).

R. Evidence of how and when the Device(s) were used or accessed to
determine the chronological context of computer access, use and events
relating to crime under investigation and to the computer user; '

S. T he telephone number, ESN number, serial number, and/or SIM card
numbers of or contained m the Device(s).

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T. Passwords, encryption keys, and other access devices that may be
necessary to access the Device(s).

U. Contextual information necessary to understand the evidence described in
this attachment ' ~

DEFINITIONS:

3. As used above the terms "reco'rds" and "information" include all of the foregoing
items of evidence in whatever form and by whatever means they may have been
created or stored, including any form of computer or electronic storage (such as
hard disks or other media that can store data); any handmade form (such as
writing, drawing, painting); any mechanical form (such as printing or typing); and
any photographic form (such as microfilm, microfiche prints, slides, negatives, .
videotapes, motion pictures, or photocopies).

4. “Visual depiction” includes prints, copies of visual images, developed and
undeveloped film and videotape and data stored on computer disk or by
electronic means, which is capable of conversion into a visual image See 18
U.S.C. § 2256(5).

 

